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                   EXHIBIT A
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                                                                 ELECTRONICALLY FILED
                                                                    2014 Sep 05 AM 9:57
Janet Bunce                                          CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                               CASE NUMBER: 2014-LM-004241
vs.
American Coradius International LLC
                                                          SUMMONS




To the above-named Defendant/Respondent:


                                        American Coradius International LLC
                                        2420 Sweet Home Road
                                        Amherst, NY 14228


You are hereby notified that a lawsuit commenced against you will be on this court's docket at 09:00 AM, on 10/27/2014,
to be held at the following location:


                                        Wyandotte County District Court


If you do not appear before this court or file an answer at such time, judgment by default will be taken against you for the
relief demanded in the petition.


If you intend to appear at such time and dispute the petition, you must file an answer with the clerk of this court within 14
days thereafter.


If you are not represented by an attorney, the answer shall be signed by you. The answer shall state the following:


(1) what the dispute is;
(2) any affirmative defenses you have to the claim; and
(3) your (or your attorney's) current address, phone number, fax phone number, and e-mail address.


You must also promptly send a copy of your answer to the plaintiffs attorney or the plaintiff, if the plaintiff has no attorney.




Clerk of the District Court


Documents to be served with the Summons:
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                                              ELECTRONICALLY FILED
                                                  2014 Sep 05 AM 9:57
                                   CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                             CASE NUMBER: 2014-LM-004241


                     In the District Court of Wyandotte County, Kansas
                                   Limited Actions Division

 Janet Bunce
                                                Case No.: _
                Plaintiff,                      Division:
 vs.

 American Coradius International LLC,

                Defendant.


                                      PETITION

                                      COUNTI
                                      (Assessing
interest for which Defendant is not entitled by contract or law - Violation of the Fair
               Debt Collections Practices Act —15 U.S.C. §1692 et seq.)


       Comes now Plaintiff Janet Bunce and for Plaintiff's petition against Defendant

American Coradius International LLC hereby alleges as follows:


       1.       Plaintiff is a natural person residing in Kansas.

       2.       Defendant regularly conducts business in the state of Kansas.

       3.       Plaintiff is a"consumer" as defined by 15 U.S.C. § 1692a(2) and is alleged

to have owed a"debt" of a personal, family, or household nature, as defined by 15 U.S.C.

§ 1692a(5).

       4.       Defendant is regularly engaged in the third-party collection of consumer

debt and are "debt collectors" as defined by the Fair Debt Collection Practices Act

(hereafter FDCPA), at U.S.C. § 1692a(6).

       5.       Defendant is engaged in the business of purchasing and collecting

"charged-ofP' consumer accounts alleged to have been originally owed to others
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(hereinafter "originating creditor").

        6.       Defendant has made a demand upon Plaintiff, alleging that it was

collecting a debt for Chase Bank USA N.A.. See Exhibit A.

        7.       In the letter, Defendant stated that interest and other charges are

accruing and the creditor may be requiring an additional amount to consider the balance

paid in full.

        8.       As of the date of the letter, Chase Bank USA N.A. was reporting to the

creditor reporting agencies that the account was written off and Chase Bank USA N.A.

was not charging interest.

        9.       Therefore, Defendant had assessed interest on the alleged debt after it

was charged off by the original creditor, Chase Bank USA N.A..

        10.      The Truth in Lending Act (TILA) regulates the type of account at issue in

this case.

        11.     TILA requires a creditor to send periodic statements to the debtor each

billing cycle if there is an outstanding balance on an account where finance charge is

imposed. 15 U.S.C. § 1637(b).

        12.        That required periodic statement must contain certain required

information which describes what and how the creditor is assessing interest and finance

charges. 15 U.S.C. ~ 1637(b).

        13.        Consistent with 15 U.S.C. & 1637(b), Regulation Z also requires

creditors to "mail or deliver a periodic statement as required by [12 C.F.R.1 ~ 226.7 for

each billing cycle at the end of which an account has a debit or credit balance of more than

$1 or on which a finance charge has been imposed." Id. at & 226.5(b) (2)(i).




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        14.        However, Regulation Z provides exceptions to this requirement that

periodic statements be sent and enables creditors to not send those required periodic

statements if the creditor does certain things.

        15.        One of those exceptions is if the creditor has charged-offthe account in

accordance with loan-loss provisions and will not charge any additional fees or interest on

the account. Id. at ~ 226.5(b) (2)(i).

        16.        Therefore,. under applicable regulations, Chase Bank USA N.A. was

required to send periodic statements to Plaintiff until it "charged-off the account in

accordance with loan-loss provisions and will not charge any additional fees or interest

on the account" 12 C.F.R. § 226.5(b)(2)(1).

        17.         Previous to the alleged purchase of the account by the Defendant from

Chase Bank USA N.A., Chase Bank USA N.A. charged-off an account alleged to have

been incurred by Plaintiff.

        18.         Because Chase Bank USA N.A. had charged-off the account, it was

not required to send periodic statements to Plaintiff as would otherwise be required by

law.

        19.         Therefore after charging-off the account, Chase Bank USA N.A. did

not send any billing statements regarding the account to the debtor.

        20.         Chase Bank USA N.A. took advantage of the charge off exception to

enable it not to be required by send periodic billing statements.

        21.         The legal tradeoff for entitling Chase Bank USA N.A. to take

advantage of the charge off exception is that it was precluded by law from charging any

additional fees or interest on the account.




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       22.          Therefore, after the account was written off, Chase Bank USA N.A.

was precluded by law from charging additional fees or interest on the account because it

had not sent out the periodic statements.

        23.         Furthermore, Chase Bank USA N.A. had therefore waived its right to

charge interest on the charged off account.   Simkus v. Cavalry Portfolio Services, LLC,

2012 WL 1866542 2012; McDonald v. AssetAcceptance LLC, Case No. 2:11-cv-13080,

ED Michigan 2013.

        24.         At the time of the letter, Chase Bank USA N.A. did not have the legal

right to charge interest.

        25.         There is no legal basis for Defendant to charge interest on the charged-

off account for which Chase Bank USA N.A. failed to maintain periodic statements.

        26.         The Plaintiff was attempting to collect a consumer debt as defined by

15 USC §1692a(5) as an obligation or alleged obligation of a consumer to pay money

arising out of a transaction in which the money, property, insurance or services which are

the subject of the transaction are primarily for personal, family, or household purposes,

whether or not such obligation has been reduced to judgment.

        27.         The standard in determining whether the Plaintiff violated the FDCPA

is the least sophisticated consumer standard. Claims should be viewed from the

perspective of a consumer whose circumstances make him relatively more susceptible to

harassment, oppression or abuse. Schweizer v. Trans Union Corp., 136 F.3d 233, 237

(2nd Cir. 1998); Swanson v. Southern Oregon Credit Service, 869 F.2d 1222, 1225-27

(9th Cir. 1988); Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1172 -75 (1 lth Cir. 1985);

Graziano v. Harrison, 950 F.2d 107, 111 (3d Cir. 1991).




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       28.         The above-described acts are misleading to the least sophisticated

consumer.

       29.         Defendant's acts, as described above, were done intentionally with the

purpose of coercing Plaintiff to pay the alleged debt.

       30.         As a result of the above violations of the stated Act, the Defendant is

liable to the Plaintiff for actual damages; statutory damages up to $1,000.00 pursuant to 15

U.S.C. §1692k; costs and reasonable attorney's fees pursuant to 15 U.S.C. §1692k.

       WHEREFORE, Plaintiff re.spectfully prays that judgment be entered against the

Defendant for actual damages; statutory damages pursuant to 15 U.S.C. §1692k; costs and

reasonable attorney's fees pursuant to 15 U.S.C. §1692k; and for such other and further

relief as may be just and proper.




                               COUNT II
             VIOLATION OF KANSAS CONSUMER PROTECTION ACT

       COMES NOW Defendant, and as for Count I1 against Defendant, states and alleges

as follows:


       31.     Plaintiff incorporates herein the preceding paragraphs as though fully set

forth hereunder.

       32.     Plaintiff is a consumer as defined by K.S.A. §50-624(b) of the Kansas

Consumer Protection Act (KCPA).

       33.     Defendant is a supplier of consumer products as defined by K.S.A. §50-624

and is subject to the requirements and provisions of the Kansas Consumer Protection Act.




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          34.    The transaction at issue is a consumer transaction as defined by K.S.A. §50-

624(c).

          35.    K.S.A §50-626 provides that "(a) No supplier shall engage in any deceptive

act or practice in connection with a consumer transaction."

          36.    The above-described actions of Defendant violated section K.S.A. § 50-

626(b)(1) by falsely making representations made knowingly or with reason to know that.•

(A) property or services have sponsorship, approval, accessories, characteristics,

ingredients, uses, benefrts or quantities that they do liot have; and that (B) the supplier has

a sponsorship, approval, status, affiliation or connection that the supplier does not have.


          37.    Furthermore, K.S.A §50-627 provides that "(a) No supplier shall engage in

any unconscionable act or practice in connection with a consumer transaction. An

unconscionable act or practice violates this act whether it occurs before, during or after the

transaction.",

          38.    In determining whether an act or practice is unconscionable, K.S.A §50-626

provides that the Court shall consider circumstances of which the supplier knew or had

reason to know, such as, but not limited to the following that:

                 (1) The supplier took advantage of the inability of the consumer
          reasonably to protect the consumer's interests because of the consumer's
          physical infirmity, ignorance, illiteracy, inability to understand the
          language of an agreement or similar factor; and

                  (6) the supplier made a misleading statement of opinion on which
          the consumer was likely to rely to the consumer's detriment.

          39.    Defendant's acts and omissions as described herein are deceptive pursuant

to K.S.A. §50-626 and unconscionable pursuant to K.S.A. §50-627.




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       40.     By virtue of the actions of Defendant, Plaintiff was aggrieved by virtue of

the imposition of some burden or obligation that federal law was designed to alleviate.

       41.     Defendant's acts and omissions were willful and were part of a pattern of

deceptive and unconscionable acts and practices.

       42.     Each act or omission described above constitutes a separate violation of the

Kansas Consumer Protection Act, K.S.A. §50-623, et seq.

       43.     Because of Defendant's deceptive acts, is an aggrieved consumer, has been

harmed, has incurred actual damages, and has incurred attorney fees.

       WHEREFORE, Plaintiff respectfully prays for judgment on Count II against

Defendant and requests the Court:

        a.     Award actual damages and restitution to Plaintiff;

        b. I If actual damages are less than $10,000.00, award statutory damages in an

        amount determined by the Court up to $10,000.00 per violation pursuant to K.S.A.

        §50-634(b) and K.S.A. §50-636 for each and every violation of the Kansas

        Consumer Protection Act;

       C.      Award costs and reasonable attorneys' fees, pursuant to K.S.A. §50-634;

       and

       d.      Such other and further relief as the Court deems just and equitable.




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                                       Respectfully Submitted,
                                       ATTORNEYS FOR PLAINTIFF

                                       /s/ A.J. Stecklein


                                       A.J. STECKLEIN #16330
                                       MICHAEL RAPP # 25702
                                       Consumer Legal Clinic, LLC
                                       748 Ann Ave
                                       Kansas City, KS 66101
                                       Telephone: (913) 371-0727
                                       Facsimile: (913) 371-0147
                                       Email: ajC
                                                a)kcconsumerlawyer.com
                                               mrkkcconsumerlayer.com
       Case 2:14-cv-02501-DDC-JPO Document 1-1 Filed 10/06/14 Page 11 of 11




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                                                                    ;:breciitor: COMENITY CAPiTAL BANK
                                                           Origirial'Credito`X:: CHASE BAhtK USA, N.A.
    American Coradius International LLC                    Accouiit Number; 5049904002402670
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     COMEN3TY CAPITAL BANK                   CHASE SANK USA, N.A.                          5049904002402670     $1.455.68
; Dear Janet Sunce
 We are writing to you regarding your BILL ME LATER account.                                                             `
 As of the date of this letter you owe $1,455.68.
 This letter will serve as conflrmation that.American Coradius international LLC, is willing to aocept $873.41 to settle the
 above referenced account.
 This offer requires that American Coradus Intemational LLC receives your funds in the amount of $873.41 on or before
' 09 27-13.
 Shouid you choose not to accept this offer, the account balance may be periodicaily increased due to the addition of
 accn ted interest or other charges as provided ir;-the agreemPnt wit_h thP.cv:=.gina-I_G!'er:litor.er a$,Q~yrarige.pxr~ki~,qd
 sfate iaw.
  if you wish to discuss this offer further, piease eontact our office at 800-213-7163 at your earliest conyenience
: Upon ciearance of your payment, we will notify our client so ihey can update their recordS accordingiy.
: Make your check or money order payabie to:
                                                         AMERICAN CORADiUS INTI=RNATIONAL LLC .
                                                         2420 $WEEt' HOME.RD STE 1'50
                                                         AMHERST NY 142282244
 Should you faii to meet the above arrangement as offered, these payinent terms wili be cancelled and American
 Coradius Intemational LLC wili fnitlate coliection of the entire outstanding baiarice.
 Sincereiy,
   American Coradius intemational LLC
   A Professional Debt Recovery Agency
   This eominunication is from a debt collector. This is an attempt to coilect a debt and any Informa#ion obtained will be
: used for that purpose.
'- Cails to or from thrs company may be monitored or recorded for quaiity assurance purposes.

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